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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


DEBORAH THELEN, individually                  )
and on behalf of those similarly situated         )
                                              )
        Plaintiff,                            )    C.A. No. 1:22-cv-00208-CFC
v.                                            )
                                              )
HP Inc.,                                      )
                                              )
        Defendant.                            )

                                 MOTION AND ORDER
                             FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the
admission pro hac vice of Jason S. Rathod to represent Plaintiff, Deborah Thelen in this matter.

Respectfully submitted,

/s/ P. Bradford deLeeuw
P. Bradford deLeeuw (#3569)
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Attorney for Deborah Thelen

Date: May 18, 2022



                                ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Date:____________________                     _______________________________________
                                                      United States District Judge
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of Illinois and the
District of Columbia and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of
this Court for any alleged misconduct which occurs in the preparation or course of this action. I
also certify that I am generally familiar with this Court’s Local Rules. In accordance with
Standing Order for District Court Fund effective 9/1/16, I further certify that the annual fee of
$25.00 has been paid to the Clerk of Court, or, if not paid previously, the fee payment will be
submitted ☒ to the Clerk’s Office upon the filing of this motion.


Dated: May 13, 2022


/s/ Jason S. Rathod

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